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MEMORANDUM OPINION

No. 04-10-00207-CR

Emanuel Camacho GOMEZ,
Appellant

v.

The STATE of Texas,
Appellee

From the 226th Judicial District Court, Bexar County, Texas
Trial Court No. 2008-CR-7391
Honorable Sid L. Harle, Judge Presiding

PER CURIAM
&nbsp;
Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Catherine Stone, Chief Justice
Karen Angelini, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice
&nbsp;
Delivered and Filed: May 19, 2010&nbsp;

DISMISSED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Emanuel Camacho Gomez pleaded nolo contendere to the offense of murder
pursuant to a plea bargain agreement.  The trial court imposed sentence in accordance with the plea
agreement, and signed a certificate stating that this “is a plea-bargain case, and the defendant has NO
right of appeal.”  See Tex. R. App. P. 25.2(a)(2).  Appellant timely filed a notice of appeal.  The
clerk’s record, which includes the plea bargain agreement and the trial court’s Rule 25.2(a)(2)
certification, has been filed.  See Tex. R. App. P. 25.2(d).  This court must dismiss an appeal “if a
certification that shows the defendant has the right of appeal has not been made part of the record.” 
Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The court gave appellant notice that the appeal would be dismissed unless an amended trial
court certification showing he has the right to appeal were made part of the appellate record within
thirty days.  See Tex. R. App. P. 25.2(d); 37.1; Daniels v. State, 110 S.W.3d 174 (Tex. App.–San
Antonio 2003, order), disp. on merits, No. 04-03-00176-CR, 2003 WL 21508347 (July 2, 2003, pet.
ref’d) (not designated for publication).  Appellant’s appointed appellate counsel filed a written
response, stating she has reviewed the record and can find no right of appeal.  After reviewing the
record and counsel’s notice, we agree appellant does not have a right to appeal.  See Dears v. State,
154 S.W.3d 610 (Tex. Crim. App. 2005) (holding that court of appeals should review clerk’s record
to determine whether trial court’s certification is accurate).  We therefore dismiss this appeal.  See
Tex. R. App. P. 25.2(d). 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
Do Not Publish


